Case 22-10298-JCM              Doc 87    Filed 12/04/24 Entered 12/04/24 13:51:40                   Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: James J. Moore Jr.
                                  Debtor(s)

MIDFIRST BANK,                                                    BK. NO. 22-10298 JCM
its successors and/or assigns
                                  Movant                          CHAPTER 7
                          v.                                                            82
                                                                  Related to Docket #___________
James J. Moore Jr.
                                  Respondent(s)
                         and
Justin P. Schantz, Trustee
                                  Additional Respondent



                      ORDER MODIFYING SECTION 362 AUTOMATIC STAY


        AND NOW, this 4th day of December , 2024, at Pittsburgh, upon Motion of MIDFIRST BANK,
it is

          ORDERED THAT: The Automatic Stay of all proceedings, as provided under Section 362 of the
Bankruptcy Abuse Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362, is
granted and modified with respect to the subject premises located at 906 Grandview Road, Oil City, PA
16301 (“Property), so as to allow Movant, its successors or assignees, to proceed with its rights and remedies
under the terms of the subject Mortgage and pursue its in rem State Court remedies including, but not limited
to, taking the Property to Sheriff’s Sale, in addition to potentially pursuing other loss mitigation alternatives
including, but not limited to, a loan modification, short sale or deed-in-lieu of foreclosure. Additionally, any
purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take any legal action for enforcement
of its right to possession of the Property.



                                                                ____________________________________
                                                             ________________________________
                                                                JohnStates
                                                             United  C. Melaragno, Judge
                                                                           Bankruptcy Judge
                                                                United States Bankruptcy Court

                                                                        SIGNED
                                                                        12/4/24 1:38 pm
                                                                        CLERK
                                                                        U.S. BANKRUPTCY
                                                                        COURT - WDPA
